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                  EXHIBIT 1
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                                                                                                                         20-571
                                       UNITED STATES DISTRICT COURT                                                      20-572
                                                                           for the                                       20-573
                                                                                                                         20-575
                                                          Western District of Texas
                                                       __________             __________                                 20-576
                                                                                                                         20-579
                    WSOU Investments LLC                                      )                                          20-580
                               Plaintiff                                      )                                          20-583
                                  v.                                          )        Civil Action No.                  20-584
                                                                              )                                          20-585
                          Google LLC                                          )        (If the action is pending in another district, state where:
                              Defendant                                       )              __________ District of __________                 )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Terrier SSC LLC
        c/o VCORP Services, LLC, 1013 Centre Road, Suite 403-B, Wilmington, Delaware 19805
    ✔ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    ’
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material:
  See Exhibit A


 Place:                                                                                 Date and Time:
         Basye Santiago Reporting                                      September 22, 2021
         1201 N. Orange Street, Suite 7013, Wilmington, Delaware 19801


     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date: September 7, 2021

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party)
                     Google LLC                                         , who issues or requests this subpoena, are:


Jennifer A. Kash, Warren Lex LLP, 2261 Market Street, San Francisco, CA 94114; jen@warrenlex.com; 415-895-2923
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                               ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc:
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                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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                                             EXHIBIT A

                                           DEFINITIONS

        1.      The term “WSOU v. Google Litigations” means 6:20-cv-00571, 6:20-cv-00572,

6:20-cv-00573, 6:20-cv-00575, 6:20-cv-00576, 6:20-cv-00579, 6:20-cv-00580, 6:20-cv-00583,

6:20-cv-00584, 6:20-cv-00585.

        2.      The terms “WSOU,” shall mean plaintiff WSOU Investments, LLC, WSOU

Holdings, LLC, WSOU Investments II, LLC, WSOU Capital Partners, LLC, and their officers,

directors, principals, current and former employees, counsel, agents, consultants, representatives,

and any other persons acting on behalf of any of the foregoing; as well as its affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

and any other legal entities, whether foreign or domestic, that are owned, controlled by, or under

common control with it, and all predecessors and successors in interest to such entities.

        3.      The term “Defendant” or “Google” shall mean Google LLC, and shall include,

individually or collectively, any and all of its past and present officers, directors, partners,

trustees, employees, corporate parents, subsidiaries, predecessors, affiliates, agents,

representatives, and attorneys.

        4.      The term “Terrier” or “you” or “your” shall mean Terrier SSC, LLC, OT WSOU

Terrier Holdings, LLC; its current and former officers, directors, principals, employees, counsel,

agents, consultants, representatives, affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors and successors in interest, any other persons acting on behalf

of any of the foregoing, and any other entities that own or control or are owned or controlled by

or share common ownership or control with any of the foregoing, as well as predecessors and

successors in interest to such entities.




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        5.      The term “Orange” and “Orange Holdings” shall mean Orange Holdings, its

current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        6.      The term “WCFT Cayman” means WCFT Cayman, its current and former

officers, directors, employees, counsel, agents, consultants, representatives, affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

any other persons acting on behalf of any of the foregoing, and any other entities that own or

control or are owned or controlled by or share common ownership or control with any of the

foregoing, as well as predecessors and successors in interest to such entities.

        7.      The term “Wade and Company” means Wade and Company or Wade & Company,

its current and former officers, directors, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        8.      The term “Omega Credit Opportunities Master Fund” means Omega Advisors,

Inc.; Omega Credit Opportunities Master Fund, LP; OCO Opportunities Master Fund, L.P. (f/k/a

Credit Opportunities Master Fund, LP), and their trustees, managers, agents, representatives,




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employees, attorneys, or entities acting in conjunction, joint venture, or partnership with any of

them.

        9.      The term “Nokia” means Nokia of America Corporation, Nokia Corporation,

Nokia Networks, Nokia Abp, Nokia Solutions and Networks Holdings USA Inc., Nokia USA

Inc., Nokia Oyj, Nokia Technologies Oyj, Nokia Solutions and Networks B.V., Nokia Solutions

and Networks Oyj, their current and former officers, directors, principals, employees, counsel,

agents, consultants, representatives, affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors and successors in interest, any other persons acting on behalf

of any of the foregoing, and any other entities that own or control or are owned or controlled by

or share common ownership or control with any of the foregoing (including Alcatel Lucent,

Alcatel Lucent Enterprises, Alcatel-Lucent International, Alcatel and Lucent Technologies), as

well as predecessors and successors in interest to such entities.

        10.     The term “AQUA” shall mean Aqua Licensing, LLC, its current and former

officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

interest, any other persons acting on behalf of any of the foregoing, and any other entities that

own or control or are owned or controlled by or share common ownership or control with any of

the foregoing, as well as predecessors and successors in interest to such entities.

        11.     The term “Houlihan” shall mean Houlihan Lokey, Inc., its current and former

officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

interest, any other persons acting on behalf of any of the foregoing, and any other entities that




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own or control or are owned or controlled by or share common ownership or control with any of

the foregoing, as well as predecessors and successors in interest to such entities.

        12.     The term “BP Funding Trust” means Basepoint Administrative LLC and BP

Funding Trust, a Delaware statutory trust; BP Funding Trust, Series SPL-VI, a statutory series of

BP Funding Trust; and their trustees, managers, agents, representatives, employees, attorneys, or

entities acting in conjunction, joint venture, or partnership with any of them including but not

limited to Basepoint Capital LLC, Basepoint Tax Funding Trust, Venture 4th Basepoint 1, LLC,

Basepoint Administrative LLC, Basepoint Asset Recovery LLC, or any other “Basepoint” entity

or related entity thereto.

        13.     The term “Credit Suisse” means Credit Suisse AG, Credit Suisse Group AG, its

current and former officers, directors, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other

entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.

        14.     The term “Juniper Capital Partners” shall mean Juniper Capital Partners, LLC, its

current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.




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        15.     The term “Coast Asset Management” shall mean Coast Asset Management, LLC,

its current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        16.     The term “asserted patent” or “asserted patents” shall mean one or more of any

patent asserted in the WSOU v. Google litigations, including without limitation, U.S. Patent Nos.

7,620,967, 7,777,728, 7,817,858, 7,946,491, 8,041,806, 8,559,928, 8,595,283, 8,640,180,

8,737,961, 8,803,697.

        17.     The term “affiliates” shall mean any entity, including parent companies and

majority-owned subsidiaries, now or hereafter acquired or formed that is directly or indirectly

controlled by a party, or is under common control with a party, or is an entity that controls a

party, as well as all predecessors and successors of such entities. For this purpose “control”

means direct or indirect ownership of, or the right to exercise, at least 50% of the voting power,

or at least 50% of the ownership interest representing either the irrevocable right to name a

majority of the members of the governing body of such entity, or the right to make binding

decisions for the entity.

        18.     The term “related application” shall mean any patent or application related to a

patent, including any application or other filing from which the patent claims priority, any

foreign counterpart patents or applications, whether by continuation, continuation-in-part,

division, reexamination, correction or re-issue, and whether issued, pending, or abandoned.




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       19.     The term “related patent” shall mean any patent, including any foreign

counterpart patent and any patent which may have been opposed, contested or subjected to any

nullity proceedings, that is based in whole or in part on any related application.

       20.     The term “named inventor” means any person or persons named as an inventor on

the face of any asserted patent or related patent.

       21.     The term “accused product” shall mean any item, device, or product that WSOU

contends infringes one or more claims of any asserted patent.

       22.     The term “asserted claim” shall mean any claim of any asserted patent that

WSOU contends has been infringed by Google.

       23.     The terms “including” or “that includes” mean including without limitation.

       24.     The term “person” includes any individual, corporation, proprietorship,

association, joint venture, company, partnership or other business or legal entity, including

governmental bodies and agencies.

       25.     The term “prior patent owner” shall mean any person that owned any interest in

the patent-in-suit or any application leading to the patent-in-suit.

       26.     The terms “concerning,” “regarding,” “relating to,” or “related to” in regard to a

particular subject shall mean, without limitation, concerning, constituting, contradicting,

comprising, commenting on, containing, describing, discussing, embodying, evidencing,

identifying, involving, mentioning, pertaining to, referring to, reflecting, regarding, relating to,

responding to, stating, supporting, tending to support or refute, relating or referring (directly or

indirectly) to or in any way, the particular subject matter identified, in whole or in part.

       27.     The term “document,” as used herein, has the same meaning it has under Rule 34

of the Federal Rule of Civil Procedure and includes all written, graphic or otherwise recorded




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material, including microfilms or other film records or impressions, electronically stored

information regardless of the form of storage medium, tape recordings or computer cards, floppy

disks or printouts, papers, photographs, films, recordings, memoranda, books, records, accounts,

communications, letters, telegrams, correspondence, notes of meetings, notes of conversations,

notes of telephone calls, inter-office memoranda or written communications, recordings of

conversations either in writing on any mechanical or electronic recording device, including

email, notes, papers, reports, analyses, invoices, canceled checks or check stubs, receipts,

minutes of meetings, time sheets, diaries, desk calendars, ledgers, schedules, licenses, financial

statements, telephone bills, logs, and any differing versions of any of the foregoing, whether so

denominated, formal, informal or otherwise, as well as copies of the foregoing which differ in

any way, including by the addition of handwritten notations or other written or printed matter,

from the original, and further includes information stored in a computer database and capable of

being generated in documentary form, such as electronic mail.

       28.      “Communications” includes any transmission, conveyance or exchange of a word,

statement, fact, thing, idea, document, instruction, information, demand or question by any

medium, whether by written, oral or other means, including but not limited to, electronic

communications and electronic mail.

       29.      Use of the singular also includes the plural and vice-versa.

       30.      The terms “or” and “and” shall be both conjunctive and disjunctive wherever they

appear, and neither of these words shall be interpreted to limit the scope of these discovery

requests.

       31.      The words “any” and “each” shall be construed to encompass the word “all.”

       32.      A verb in any tense shall mean the verb in all other tenses.




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        33.      “Other WSOU Defendants” shall mean any and all companies that WSOU has

sued in patent litigation matters, including but not limited to ZTE Corporation, ZTE (USA), Inc.,

ZTE (TX), Inc.; Microsoft Corporation; Dell Technologies, Inc., Dell Inc., EMC Corporation,

VMWare, Inc.; Huawei Technologies Co., Ltd., Huawei Technologies USA Inc., Huawei Device

(Shenzen) Co., Ltd. (f/k/a Huawei Device Co., Ltd.), Huawei Device USA, Inc., Huawei

Investment & Holding Co., Ltd.; Hewlett Packard Enterprise Company; Juniper Enterprise

Networks, Inc.; Xilinx, Inc.; NEC Corporation; OnePlus Technology (Shenzen) Co., Ltd.;

Canon, Inc.; TP-Link Technology Co., Ltd.; F5 Networks, Inc.; Arista Networks, Inc.;

Salesforce.com; Cisco Systems, Inc.; Netgear, Inc.

                                         INSTRUCTIONS

        1.       The singular form of a word should be interpreted in the plural as well. Any

pronoun shall be construed to refer to the masculine, feminine or neutral gender as in such case is

most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive. The words “any” and “each” shall be construed to

encompass the word “all.” The past tense shall be interpreted to include the present tense where

the meaning is not distorted and the verb form of a noun or pronoun may be used, as appropriate

in a particular context.

        2.       In the event that you object to any document request on the ground that it is

overbroad and/or unduly burdensome for any reason, respond to that document request as

narrowed to the least extent necessary, in your judgment, to render it not overbroad/unduly

burdensome and state specifically the extent to which you have narrowed that document request

for purposes of your response.




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       3.       In the event that you object to any document request on the ground that it is vague

and/or ambiguous, identify the particular words, terms or phrases that are asserted to make such

request vague and/or ambiguous and specify the meaning actually attributed to you by such

words for purposes of your response thereto.

       4.       If possible, supply all annual data requested on a calendar basis. However, if

fiscal year data is provided, please specify the month in which the fiscal year begins and

terminates. Where information is requested “for each year,” include the requested information

for all prior years and also the requested information available for the current year and specify

what portion of the current year is covered by such information.

       5.       If information requested is not readily available from your records in exactly the

form requested, furnish the information in the form maintained by you or carefully prepared

estimates, designated as such and attach explanations of any estimate used and how the estimate

was prepared.

       6.       If you do not answer any request, or part thereof, because of a claim of privilege

or any other claim, set forth the privilege claimed, the facts upon which you rely to support the

claim or privilege and furnish a list identifying each item of information for which privilege is

claimed, containing at least the following information:

             a. The date the document was created;

             b. The names of the owner or author(s)/sender(s) of the document;

             c. If the document is an email, the name of the recipient(s), including copy and blind

                copy recipients;

             d. A brief description of the document and type of legal advice; and




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             e. The grounds for the claim or privilege (e.g., attorney work product,

                attorney-client communication).

       The sender(s) and recipient(s) shall be identified by position and entity (corporation or

firm, etc.) with which they are employed or associated. If the sender or recipient is an attorney or

foreign patent agent, he or she should be so identified. In the case of a foreign patent agent, there

should be a statement of whether the laws of the agent’s country grant privileged status to a

patent agent’s communication. The type of privilege claimed must also be stated, together with

certification that all elements of the claimed privilege have been met and not waived with respect

to each document.

       7.       Technical terms shall have their normal technical meaning. If you find the

meaning of any term in these requests to be unclear, you must assume a reasonable meaning,

state what the assumed meaning is, and answer on the basis of that assumed meaning. If you

wish to clarify your interpretation of any particular term that it relied on in answering a request,

you should do so in its answer.

       8.       To the extent that any portion of a request requires the production of documents

that were at one time within your possession, custody, or control, but which are now in the

possession, custody, or control of another, you are directed to identify such documents in a

manner sufficient to describe such documents for the purpose of preparing and serving a proper

subpoena and to give the name, telephone number, address, and e-mail address of the person last

known by you to have been in possession, custody, or control of such documents.

                                REQUESTS FOR PRODUCTION

       1.       Documents concerning the formation of Terrier.

       2.       Documents concerning the formation of OT WSOU Terrier Holdings, LLC.




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        3.       Documents concerning your corporate structure.

        4.       Documents concerning your investments or interests in the asserted patents,

including assignment, licensing, acquisition, financial interest, security interest, lien, sale,

transfer of rights (in whole or in part) and any other disposition of or any offers to buy, sell,

obtain rights to, or licenses any of the asserted patents.

        5.       Documents concerning discussions with BP Funding Trust regarding any asserted

patent, a portfolio including an asserted patent, assignment of any interest in any asserted patent

or a portfolio including an asserted patent, or the acquisition or potential acquisition of any

portfolio that might have included an asserted patent.

        6.       Agreements with BP Funding Trust concerning any potential or actual transaction

regarding any asserted patent, a portfolio including an asserted patent, or the acquisition or

potential acquisition of any portfolio that might have included an asserted patent.

        7.       Agreements with the named inventor(s) of any of the asserted patents, including

assignment agreements, consulting agreements, employment agreements and any agreements

pertaining to litigation involving the asserted patents or any related patents.

        8.       Compensation, cost-sharing, or profit sharing agreements with any of the named

inventor(s) of the asserted patent(s).

        9.       Documents regarding the assignment, licensing, acquisition, financial interest,

security interest, lien, sale, transfer of rights (in whole or in part) and any other disposition of or

any offers to buy, sell, obtain rights to, or licenses any of the asserted patents.

        10.      Documents concerning the nature and scope of any rights you had in the past or

currently have in each of the asserted patents, related applications or related patents from the

time each alleged invention was conceived through the present, including the right to control any




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portion of litigation, future royalties, payment for licenses, contingent rights, or payments

depending on the outcome of litigation.

        11.     Documents regarding agreements relating to each of the asserted patents (or any

portfolio including any of the asserted patents), including assurances, covenants not to sue and

understandings not to assert any of the asserted patents against potential licensees.

        12.     Documents regarding agreements between you and WSOU, Allied Security Trust,

AQUA Licensing, LLC, RPX Corporation, Fortress Credit Co., LLC, Houlihan, Orange

Holdings, Wade and Company, Omega Credit Opportunities Master Fund, BP Funding Trust,

Juniper Capital Partners, Coast Asset Management, or WCFT Cayman, regarding any asserted

patent, a portfolio including an asserted patent, or the acquisition or potential acquisition of any

portfolio that might have included an asserted patent, including any amendment, modification,

supplementation, abrogation, or termination of any such agreements.

        13.     Documents regarding agreements with Nokia or other WSOU Defendants

regarding an asserted patent or a portfolio including an asserted patent.

        14.     Communications with Nokia, Allied Security Trust, AQUA, RPX Corporation,

Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade and Company, Omega

Credit Opportunities Master Fund, BP Funding Trust, Juniper Capital Partners, Coast Asset

Management, or WCFT Cayman regarding an asserted patent, a portfolio including an asserted

patent, or actual or potential litigation relating to an asserted patent.

        15.     Documents concerning communications with any of the named inventors

regarding any of the asserted patents, this litigation or Google.

        16.     Communications with WSOU regarding the asserted patent, related patents, this

litigation or Google.




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          17.   Documents concerning communications between you and any other entity relating

to the possibility of patent litigation regarding the asserted patent and related patents, including

any actual or potential patent litigation against Google and the WSOU v. Google Litigations.

          18.   Documents concerning the formation of WSOU.

          19.   Documents concerning any contemplated acquisition of patents or rights in

patents from Nokia.

          20.   Documents sufficient to show any interests (current or prior) in WSOU.

          21.   Documents sufficient to show any actual, contingent, or potential (1) right to

license or sublicense any asserted patent, (2) right to control the licensing of any asserted patent,

or (3) right to control or be involved in the resolution of any litigation involving any asserted

patent.

          22.   Documents sufficient to show your relationship with Stuart A. Shanus, Eric

Schneider, Andrew Neuberger, Marc Wade, or Craig Etchegoyen, Orange Holdings, WSOU,

Uniloc USA, Inc., WCFT Cayman, Omega Credit Opportunities Master Fund, Wade and

Company, and BP Funding Trust, or any entity associated with the foregoing.

          23.   Documents concerning the “Patent Security Agreement” recorded at USPTO Reel

09235 Frame 0068, signed May 16, 2019, the circumstances of this agreement, and any related

agreements.

          24.   Documents concerning the May 16, 2019 “Patent Security Agreement” and any

related agreements, including the circumstances surrounding the recorded release of your

security interest regarding the “Patent Security Agreement.”




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       25.        Documents concerning the release of your security interest, recorded June 3,

2021, at USPTO Reel 056526 Frame 0093, the circumstances of this agreement, and any related

agreements.

       26.        Documents concerning the value of, any valuations of or attempts to value any

asserted patent, related patent, or related application, whether individually or in combination

with any other patents or applications, including any portfolio containing any asserted patent or

related patent.

       27.        Documents concerning any evaluation or analysis of any asserted patent, any

related patent, or any related application, whether individually or in combination with any other

patents or applications, including any evaluation or analysis of infringement, validity, or

commercialization.

       28.        Documents produced in response to a subpoena served by any other WSOU

Defendant.




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                  EXHIBIT 2
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT                                            20-571
                                                                            for the                            20-572
                                                                                                               20-573
                                                          Western District
                                                       __________ District of
                                                                           of Texas
                                                                              __________                       20-575
                                                                                                               20-576
                   WSOU Investments LLC                                        )                               20-579
                               Plaintiff                                       )                               20-580
                                  v.                                           )      Civil Action No.         20-583
                                                                               )                               20-584
                                                                                                               20-585
                          Google LLC                                           )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:      Terrier SSC LLC
         c/o VCORP Services, LLC, 1013 Centre Road, Suite 403-B, Wilmington, Delaware 19805
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Testimony:    YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
  See Exhibit A

 Place:                                                                                Date and Time:
       Basye Santiago Reporting
                                                                                        September 22, 2021
       1201 N. Orange Street, Suite 7013, Wilmington, Delaware 19801

          The deposition will be recorded by this method: stenographic, video and audio recording

      ’ Production: You, or your representatives, must also bring with you to the deposition the following documents,
        electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
        material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: September 7, 2021
                                   CLERK OF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                                Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                     Google LLC                                         , who issues or requests this subpoena, are:
Jennifer A. Kash, Warren Lex LLP, 2261 Market Street, San Francisco, CA 94114; jen@warrenlex.com; 415-895-2923
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                       Case 6:21-mc-01269 Document 1-1 Filed 10/06/21 Page 21 of 226
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                             EXHIBIT A

                                           DEFINITIONS

        1.       The term “WSOU v. Google Litigations” means 6:20-cv-00571, 6:20-cv-00572,

6:20-cv-00573, 6:20-cv-00575, 6:20-cv-00576, 6:20-cv-00579, 6:20-cv-00580, 6:20-cv-00583,

6:20-cv-00584, 6:20-cv-00585.

        2.       The terms “WSOU,” shall mean plaintiff WSOU Investments, LLC, WSOU

Holdings, LLC, WSOU Investments II, LLC, WSOU Capital Partners, LLC, and their officers,

directors, principals, current and former employees, counsel, agents, consultants, representatives,

and any other persons acting on behalf of any of the foregoing; as well as its affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

and any other legal entities, whether foreign or domestic, that are owned, controlled by, or under

common control with it, and all predecessors and successors in interest to such entities.

        3.       The term “Defendant” or “Google” shall mean Google LLC, and shall include,

individually or collectively, any and all of its past and present officers, directors, partners,

trustees, employees, corporate parents, subsidiaries, predecessors, affiliates, agents,

representatives, and attorneys.

        4.       The term “Terrier” or “you” or “your” shall mean Terrier SSC, LLC, OT WSOU

Terrier Holdings, LLC; its current and former officers, directors, principals, employees, counsel,

agents, consultants, representatives, affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors and successors in interest, any other persons acting on behalf

of any of the foregoing, and any other entities that own or control or are owned or controlled by

or share common ownership or control with any of the foregoing, as well as predecessors and

successors in interest to such entities.




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        5.       The term “Orange” and “Orange Holdings” shall mean Orange Holdings, its

current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        6.       The term “WCFT Cayman” means WCFT Cayman, its current and former

officers, directors, employees, counsel, agents, consultants, representatives, affiliates, parents,

divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in interest,

any other persons acting on behalf of any of the foregoing, and any other entities that own or

control or are owned or controlled by or share common ownership or control with any of the

foregoing, as well as predecessors and successors in interest to such entities.

        7.       The term “Wade and Company” means Wade and Company or Wade & Company,

its current and former officers, directors, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        8.       The term “Omega Credit Opportunities Master Fund” means Omega Advisors,

Inc.; Omega Credit Opportunities Master Fund, LP; OCO Opportunities Master Fund, L.P. (f/k/a

Credit Opportunities Master Fund, LP), and their trustees, managers, agents, representatives,




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employees, attorneys, or entities acting in conjunction, joint venture, or partnership with any of

them.

        9.       The term “Nokia” means Nokia of America Corporation, Nokia Corporation,

Nokia Networks, Nokia Abp, Nokia Solutions and Networks Holdings USA Inc., Nokia USA

Inc., Nokia Oyj, Nokia Technologies Oyj, Nokia Solutions and Networks B.V., Nokia Solutions

and Networks Oyj, their current and former officers, directors, principals, employees, counsel,

agents, consultants, representatives, affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors and successors in interest, any other persons acting on behalf

of any of the foregoing, and any other entities that own or control or are owned or controlled by

or share common ownership or control with any of the foregoing (including Alcatel Lucent,

Alcatel Lucent Enterprises, Alcatel-Lucent International, Alcatel and Lucent Technologies), as

well as predecessors and successors in interest to such entities.

        10.      The term “AQUA” shall mean Aqua Licensing, LLC, its current and former

officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

interest, any other persons acting on behalf of any of the foregoing, and any other entities that

own or control or are owned or controlled by or share common ownership or control with any of

the foregoing, as well as predecessors and successors in interest to such entities.

        11.      The term “Houlihan” shall mean Houlihan Lokey, Inc., its current and former

officers, directors, principals, employees, counsel, agents, consultants, representatives, affiliates,

parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and successors in

interest, any other persons acting on behalf of any of the foregoing, and any other entities that




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own or control or are owned or controlled by or share common ownership or control with any of

the foregoing, as well as predecessors and successors in interest to such entities.

        12.     The term “BP Funding Trust” means Basepoint Administrative LLC and BP

Funding Trust, a Delaware statutory trust; BP Funding Trust, Series SPL-VI, a statutory series of

BP Funding Trust; and their trustees, managers, agents, representatives, employees, attorneys, or

entities acting in conjunction, joint venture, or partnership with any of them including but not

limited to Basepoint Capital LLC, Basepoint Tax Funding Trust, Venture 4th Basepoint 1, LLC,

Basepoint Administrative LLC, Basepoint Asset Recovery LLC, or any other “Basepoint” entity

or related entity thereto.

        13.     The term “Credit Suisse” means Credit Suisse AG, Credit Suisse Group AG, its

current and former officers, directors, employees, counsel, agents, consultants, representatives,

affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns, predecessors and

successors in interest, any other persons acting on behalf of any of the foregoing, and any other

entities that own or control or are owned or controlled by or share common ownership or control

with any of the foregoing, as well as predecessors and successors in interest to such entities.

        14.     The term “Juniper Capital Partners” shall mean Juniper Capital Partners, LLC, its

current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.




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        15.     The term “Coast Asset Management” shall mean Coast Asset Management, LLC,

its current and former officers, directors, principals, employees, counsel, agents, consultants,

representatives, affiliates, parents, divisions, joint ventures, licensees, franchisees, assigns,

predecessors and successors in interest, any other persons acting on behalf of any of the

foregoing, and any other entities that own or control or are owned or controlled by or share

common ownership or control with any of the foregoing, as well as predecessors and successors

in interest to such entities.

        16.     The term “asserted patent” or “asserted patents” shall mean one or more of any

patent asserted in the WSOU v. Google litigations, including without limitation, U.S. Patent Nos.

7,620,967, 7,777,728, 7,817,858, 7,946,491, 8,041,806, 8,559,928, 8,595,283, 8,640,180,

8,737,961, 8,803,697.

        17.     The term “affiliates” shall mean any entity, including parent companies and

majority-owned subsidiaries, now or hereafter acquired or formed that is directly or indirectly

controlled by a party, or is under common control with a party, or is an entity that controls a

party, as well as all predecessors and successors of such entities. For this purpose “control”

means direct or indirect ownership of, or the right to exercise, at least 50% of the voting power,

or at least 50% of the ownership interest representing either the irrevocable right to name a

majority of the members of the governing body of such entity, or the right to make binding

decisions for the entity.

        18.     The term “related application” shall mean any patent or application related to a

patent, including any application or other filing from which the patent claims priority, any

foreign counterpart patents or applications, whether by continuation, continuation-in-part,

division, reexamination, correction or re-issue, and whether issued, pending, or abandoned.




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       19.     The term “related patent” shall mean any patent, including any foreign

counterpart patent and any patent which may have been opposed, contested or subjected to any

nullity proceedings, that is based in whole or in part on any related application.

       20.     The term “named inventor” means any person or persons named as an inventor on

the face of any asserted patent or related patent.

       21.     The term “accused product” shall mean any item, device, or product that WSOU

contends infringes one or more claims of any asserted patent.

       22.     The term “asserted claim” shall mean any claim of any asserted patent that

WSOU contends has been infringed by Google.

       23.     The terms “including” or “that includes” mean including without limitation.

       24.     The term “person” includes any individual, corporation, proprietorship,

association, joint venture, company, partnership or other business or legal entity, including

governmental bodies and agencies.

       25.     The term “prior patent owner” shall mean any person that owned any interest in

the patent-in-suit or any application leading to the patent-in-suit.

       26.     The terms “concerning,” “regarding,” “relating to,” or “related to” in regard to a

particular subject shall mean, without limitation, concerning, constituting, contradicting,

comprising, commenting on, containing, describing, discussing, embodying, evidencing,

identifying, involving, mentioning, pertaining to, referring to, reflecting, regarding, relating to,

responding to, stating, supporting, tending to support or refute, relating or referring (directly or

indirectly) to or in any way, the particular subject matter identified, in whole or in part.

       27.     The term “document,” as used herein, has the same meaning it has under Rule 34

of the Federal Rule of Civil Procedure and includes all written, graphic or otherwise recorded




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material, including microfilms or other film records or impressions, electronically stored

information regardless of the form of storage medium, tape recordings or computer cards, floppy

disks or printouts, papers, photographs, films, recordings, memoranda, books, records, accounts,

communications, letters, telegrams, correspondence, notes of meetings, notes of conversations,

notes of telephone calls, inter-office memoranda or written communications, recordings of

conversations either in writing on any mechanical or electronic recording device, including

email, notes, papers, reports, analyses, invoices, canceled checks or check stubs, receipts,

minutes of meetings, time sheets, diaries, desk calendars, ledgers, schedules, licenses, financial

statements, telephone bills, logs, and any differing versions of any of the foregoing, whether so

denominated, formal, informal or otherwise, as well as copies of the foregoing which differ in

any way, including by the addition of handwritten notations or other written or printed matter,

from the original, and further includes information stored in a computer database and capable of

being generated in documentary form, such as electronic mail.

       28.      “Communications” includes any transmission, conveyance or exchange of a word,

statement, fact, thing, idea, document, instruction, information, demand or question by any

medium, whether by written, oral or other means, including but not limited to, electronic

communications and electronic mail.

       29.      Use of the singular also includes the plural and vice-versa.

       30.      The terms “or” and “and” shall be both conjunctive and disjunctive wherever they

appear, and neither of these words shall be interpreted to limit the scope of these discovery

requests.

       31.      The words “any” and “each” shall be construed to encompass the word “all.”

       32.      A verb in any tense shall mean the verb in all other tenses.




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        33.      “Other WSOU Defendants” shall mean any and all companies that WSOU has

sued in patent litigation matters, including but not limited to ZTE Corporation, ZTE (USA), Inc.,

ZTE (TX), Inc.; Microsoft Corporation; Dell Technologies, Inc., Dell Inc., EMC Corporation,

VMWare, Inc.; Huawei Technologies Co., Ltd., Huawei Technologies USA Inc., Huawei Device

(Shenzen) Co., Ltd. (f/k/a Huawei Device Co., Ltd.), Huawei Device USA, Inc., Huawei

Investment & Holding Co., Ltd.; Hewlett Packard Enterprise Company; Juniper Enterprise

Networks, Inc.; Xilinx, Inc.; NEC Corporation; OnePlus Technology (Shenzen) Co., Ltd.;

Canon, Inc.; TP-Link Technology Co., Ltd.; F5 Networks, Inc.; Arista Networks, Inc.;

Salesforce.com; Cisco Systems, Inc.; Netgear, Inc.

                                         INSTRUCTIONS

        1.       The singular form of a word should be interpreted in the plural as well. Any

pronoun shall be construed to refer to the masculine, feminine or neutral gender as in such case is

most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive. The words “any” and “each” shall be construed to

encompass the word “all.” The past tense shall be interpreted to include the present tense where

the meaning is not distorted and the verb form of a noun or pronoun may be used, as appropriate

in a particular context.

        2.       In the event that you object to any document request on the ground that it is

overbroad and/or unduly burdensome for any reason, respond to that document request as

narrowed to the least extent necessary, in your judgment, to render it not overbroad/unduly

burdensome and state specifically the extent to which you have narrowed that document request

for purposes of your response.




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       3.       In the event that you object to any document request on the ground that it is vague

and/or ambiguous, identify the particular words, terms or phrases that are asserted to make such

request vague and/or ambiguous and specify the meaning actually attributed to you by such

words for purposes of your response thereto.

       4.       If possible, supply all annual data requested on a calendar basis. However, if

fiscal year data is provided, please specify the month in which the fiscal year begins and

terminates. Where information is requested “for each year,” include the requested information

for all prior years and also the requested information available for the current year and specify

what portion of the current year is covered by such information.

       5.       If information requested is not readily available from your records in exactly the

form requested, furnish the information in the form maintained by you or carefully prepared

estimates, designated as such and attach explanations of any estimate used and how the estimate

was prepared.

       6.       If you do not answer any request, or part thereof, because of a claim of privilege

or any other claim, set forth the privilege claimed, the facts upon which you rely to support the

claim or privilege and furnish a list identifying each item of information for which privilege is

claimed, containing at least the following information:

             a. The date the document was created;

             b. The names of the owner or author(s)/sender(s) of the document;

             c. If the document is an email, the name of the recipient(s), including copy and blind

                copy recipients;

             d. A brief description of the document and type of legal advice; and




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             e. The grounds for the claim or privilege (e.g., attorney work product,

                attorney-client communication).

       The sender(s) and recipient(s) shall be identified by position and entity (corporation or

firm, etc.) with which they are employed or associated. If the sender or recipient is an attorney or

foreign patent agent, he or she should be so identified. In the case of a foreign patent agent, there

should be a statement of whether the laws of the agent’s country grant privileged status to a

patent agent’s communication. The type of privilege claimed must also be stated, together with

certification that all elements of the claimed privilege have been met and not waived with respect

to each document.

       7.       Technical terms shall have their normal technical meaning. If you find the

meaning of any term in these requests to be unclear, you must assume a reasonable meaning,

state what the assumed meaning is, and answer on the basis of that assumed meaning. If you

wish to clarify your interpretation of any particular term that it relied on in answering a request,

you should do so in its answer.

       8.       To the extent that any portion of a request requires the production of documents

that were at one time within your possession, custody, or control, but which are now in the

possession, custody, or control of another, you are directed to identify such documents in a

manner sufficient to describe such documents for the purpose of preparing and serving a proper

subpoena and to give the name, telephone number, address, and e-mail address of the person last

known by you to have been in possession, custody, or control of such documents.

                                   TOPICS FOR DEPOSITION

       1.       The subject matter of all requests for production in the concurrently served

document subpoena.




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        2.       The authenticity of the documents produced in response to the concurrently

served document subpoena.

        3.       The formation of Terrier.

        4.       The formation of OT WSOU Terrier Holdings, LLC.

        5.       Your corporate structure.

        6.       Your investments or interests in the asserted patents, including assignment,

licensing, acquisition, financial interest, security interest, lien, sale, transfer of rights (in whole or

in part) and any other disposition of or any offers to buy, sell, obtain rights to, or licenses any of

the asserted patents.

        7.       Discussions with BP Funding Trust regarding any asserted patent, a portfolio

including an asserted patent, assignment of any interest in any asserted patent or a portfolio

including an asserted patent, or the acquisition or potential acquisition of any portfolio that might

have included an asserted patent.

        8.       Agreements with BP Funding Trust concerning any potential or actual transaction

regarding any asserted patent, a portfolio including an asserted patent, or the acquisition or

potential acquisition of any portfolio that might have included an asserted patent.

        9.       Agreements with the named inventor(s) of any of the asserted patents, including

assignment agreements, consulting agreements, employment agreements and any agreements

pertaining to litigation involving the asserted patents or any related patents.

        10.      Compensation, cost-sharing, or profit sharing agreements with any of the named

inventor(s) of the asserted patent(s).




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        11.       The assignment, licensing, acquisition, financial interest, security interest, lien,

sale, transfer of rights (in whole or in part) and any other disposition of or any offers to buy, sell,

obtain rights to, or licenses any of the asserted patents.

        12.       The nature and scope of any rights you had in the past or currently have in each of

the asserted patents, related applications or related patents from the time each alleged invention

was conceived through the present, including the right to control any portion of litigation, future

royalties, payment for licenses, contingent rights, or payments depending on the outcome of

litigation.

        13.       Agreements relating to each of the asserted patents (or any portfolio including any

of the asserted patents), including assurances, covenants not to sue and understandings not to

assert any of the asserted patents against potential licensees.

        14.       Agreements between you and WSOU, Allied Security Trust, AQUA Licensing,

LLC, RPX Corporation, Fortress Credit Co., LLC, Houlihan, Orange Holdings, Wade and

Company, Omega Credit Opportunities Master Fund, BP Funding Trust, Juniper Capital

Partners, Coast Asset Management, or WCFT Cayman, regarding any asserted patent, a portfolio

including an asserted patent, or the acquisition or potential acquisition of any portfolio that might

have included an asserted patent, including any amendment, modification, supplementation,

abrogation, or termination of any such agreements.

        15.       Agreements with Nokia or other WSOU Defendants regarding an asserted patent

or a portfolio including an asserted patent.

        16.       Communications with Nokia, Allied Security Trust, AQUA, RPX Corporation,

Fortress Credit Co., LLC, Houlihan, WSOU, Orange Holdings, Wade and Company, Omega

Credit Opportunities Master Fund, BP Funding Trust, Juniper Capital Partners, Coast Asset




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Management, or WCFT Cayman regarding an asserted patent, a portfolio including an asserted

patent, or actual or potential litigation relating to an asserted patent.

        17.     Communications with any of the named inventors regarding any of the asserted

patents, this litigation or Google.

        18.     Communications with WSOU regarding the asserted patent, related patents, this

litigation or Google.

        19.     Communications between you and any other entity relating to the possibility of

patent litigation regarding the asserted patent and related patents, including any actual or

potential patent litigation against Google and the WSOU v. Google Litigations.

        20.     The formation of WSOU.

        21.     Any contemplated acquisition of patents or rights in patents from Nokia.

        22.     Any interests (current or prior) in WSOU.

        23.     Any actual, contingent, or potential (1) right to license or sublicense any asserted

patent, (2) right to control the licensing of any asserted patent, or (3) right to control the

resolution of any litigation involving any asserted patent.

        24.     Your relationship with Stuart A. Shanus, Eric Schneider, Andrew Neuberger,

Marc Wade, Craig Etchegoyen, Orange Holdings, WSOU, Uniloc USA, Inc., WCFT Cayman,

Omega Credit Opportunities Master Fund, Wade and Company, and BP Funding Trust, or any

other entity associated with the foregoing.

        25.     The “Patent Security Agreement” recorded at USPTO Reel 09235 Frame 0068,

signed May 16, 2019, and any related agreements.




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       26.     Communications regarding the May 16, 2019 “Patent Security Agreement” and

any related agreements, including the circumstances surrounding the recorded release of your

security interest regarding the “Patent Security Agreement.”

       27.     The release of your security interest, dated June 3, 2021, recorded at USPTO Reel

056526 Frame 0093, the circumstances of this agreement, and any related agreements.

       28.     The value of, any valuations of or attempts to value any asserted patent, related

patent, or related application, whether individually or in combination with any other patents or

applications, including any portfolio containing any asserted patent or related patent.

       29.     Any evaluation or analysis of any asserted patent, any related patent, or any

related application, whether individually or in combination with any other patents or

applications, including any evaluation or analysis of infringement, validity, or

commercialization.

       30.     Responses to any subpoena served by any other WSOU Defendant.




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